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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-v- Case No. 2:04cr20104-P (B)
DERRICK JONES

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

( l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
comrnnnity, it is FUR'I`HER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions
Bond set at $2,500.00 unsecured.

'O Report as directed by the Probation Office.

0 Maintain or actively seek employment

0 Refrain from possessing a firearm destructive device, or other dangerous weapon.

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretn`al Services Offlcer or as may be lawfully prescribed in
writing by a licensed medical practitioner

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

'i`his doctment entered on the docket sheet ln compliance
AO 199A Order Setting Conditions of Re|ease “ ' q-

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¢ Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretn`al Services and pay a percentage of the fee as determined by Pretrial Services.

0 Other: Defendant to reside at grandmother’ s housc. Home confinement Participate in drug treatment program..

Defendant ORDERED to call Probation Ofiicer daily until home confinement is in place.
ADVICE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. 'I`his sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf you arc convicted of:

(l) an offense punishable by death, life irnprisonmcnt, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

Ao 199A order setting conditions er Release -2-

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I arn aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposcd. l am aware

of the penalties and sanctions set forth above.
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Sign'an.ui( of Defendant

 

Derrick J ones

3035 Calvert Street
Memphis, TN 38108
(901) 452-7887

DlRECT|ONS TO THE UNITED STATES MARSHAL

The defendant is ORDERED released after processing

§ The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dare; ru1y22, 2005 /<Ot,ttu , l Zjé‘/W/

"DIANE K. vESCOvO
UNITED sTATEs MAGISTRATE IUDGE

Ao iesA order setting conditions of Release -3-

   
 

  
 

 

 

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UNITED sTTES DISTICT COURT - WERNSTE D"TRCIIT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

J Patten Brovvn

FEDERAL PUBLIC DEFENDER
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Ste. 200

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Kristen Coyne

US DEPARTl\/[ENT OF .TUSTICE
5722 Integrity Dr.

Millington, TN 38054

Honorable Tu Pham
US DISTRICT COURT

